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                                                      Exhibit I
Case 1:18-cv-00649-PLM-RSK ECF No. 5-10 filed 08/24/18 PageID.167 Page 2 of 3
                                                                                                          t..V Cl.




                              AQ~}IN..1\S                       (()LLEC1·E

  August 14, 2017


     Jane Roe

  Dear       Jane    ,

  This letter confirms the official decision of the Sexual Assault Judicial Hearing Board {JHB)
  regarding the hearing held on Tuesday, August 8, 2017, In which you served as Complainant.

  Using the standard of proof of "preponderance of evidence" the JHB has found the respondent,
  John Doe , responsible for both of the Student Code of Conduct violations listed berow:
         a    3. Safety, A: Behavioral Misconduct and Harassment
         •    3. Safety, D: Sexual Assault, Dating Violence, Domestic Violence, Stalking, and Sexual
              Misconduct/Exploitation

  As a result of this decision, the following sanctions apply for the respondent:

         •    Expulsion

  The complainant or the respondent may appeal a decision or sanction of the Judicial Hearing
  Board within five (5) business days of receipt of the written decision of the Judicial Hearing Board
  by filing an appeal with the Provost of Aquinas College, Dr. Stephen Barrows, in accordance with
  the procedures outlined in the Student Conduct Code Judicial Process found at found at
  https://www.aquinas.edu/life-aq/student-affairs/aquinas-college-judicial-process. If no appeal is
  made within this time frame, the decision of the Judicial Hearing Board will become final.
  Please contact me should you have any questions.

  Sincerely,




  Andrea Wirgau, EdD
  Title IX Deputy Coordinator
  abw001@aquinas.edu

   CC:
  Registrar
  Athletic Director
  Director of Residence Life
  AVP of Student Affairs
  Director of Campus Safety




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                                                                                                          Z.0 b




   August14,2017

   To:   John Doe


   DearJ John

   This letter confirms the official decision of the Sexual Assault Judicial Hearing Board (JHB)
   regarding the hearing held on Tuesday, August 8, 2017, In which you served as Respondent.

   Using the standard of proof of ~preponderance of evidence" the JHB has found the respondent,
    John Doe , responsible for both of the Student Code of Conduct violations listed below:

         •   3. Safety, A: Behavioral Misconduct and Harassment
         •   3. Safety, D: Sexual Assault, Dating Violence, Domestic Violence, Stalking, and Sexual
             Misconduct/Exproitation

   As a result of this decision, the following sanctions apply for the respondent:

         •   Expulsion

   The complainant or the respondent may appeal a decision or sanction of the Judicial Hearing
   Board within five (5) business days of receipt of the written decision of the Judicial Hearing Board
   by filing an appeal with the Provost of Aquinas College, Dr. Stephen Barrows, in accordance with
   the procedures outlined in the Student Conduct Code Judicial Process found at found at
   https:f/www.aquinas.edu/life~aq/student-affairs/aquinas-college-judicial-process. If no appeal is
   made within this time frame, the decision of the Judicial Hearing Board will become final.
   Please contact me should you have any questions.

   Sincerely,




   Andrea Wirgau, EdD
   Title IX Deputy Coordinator
   abw001@aquinas.edu

   CC:
   Registrar
   Athletic Director
   Director of Residence Life
   AVP of Student Affairs
   Director of Campus Safety




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